Case 17-15030 Doc83_ Filed 04/24/23 Entered 04/24/23 14:43: ine 6 IKDeBc Ma inky
Document Page 1 of 4 |

- Form G-3
APR 24 2023
UNITED STATES BANKRUPTCY COURT
Northern District of Illinois JEFFREY P, ALLSTEADT, CLERK
Eastern Division INTAKE 2
In Re: ) Bankruptcy Case No. 17-15030
)
Ira Greenberg & Lorraine R. ) Chapter: 7
Greenberg
) Honorable A. Benjamin Goldgar
)
Debtor(s) )

NOTICE OF MOTION
To: See attached list

PLEASE TAKE NOTICE that on May 8, 2023, at 9:30 a.m., I will appear before the
Honorable A. Benjamin Goldgar, or any judge sitting in that judge’s place, either in courtroom
642 of the Everett McKinley Dirksen United States Courthouse, 219 South Dearborn Street,
Chicago, IL 60604, or electronically as described below, and present the motion of Application
for Payment of Unclaimed Funds [to/ for] Dilks & Knopik, LLC as assignee to Johnson Bank, a
copy of which is attached.

All parties in interest, including the movant, may appear for the presentment of the
motion either in person or electronically using Zoom for Government.

You may appear electronically by video or by telephone

To appear by video, call Zoom for Government at 1-669-254-5252 or 1-646-828- 7666.
Then enter the meeting ID and passcode.

Meeting ID and password. The meeting ID for this hearing is 161-500-0972 and the
password is 726993. The meeting ID and password can also be found on the judge’s page on the
court’s web site.

If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of

Objection is timely filed, the court may grant the motion in-advanee-without a hearing.

mdrew T. Drake - Vice President
35308 SE Center St
Snoqualmie, WA 98065
425-836-5728

Maing
TED STATES BANKRUPTCY
NORTHERN DISTRICT OF IL UNOS”
Case 17-15030 Doc 83 Filed 04/24/23 Entered 04/24/23 14:43:46 Desc Main
Document Page 2of4

- Form G-3

CERTIFICATE OF SERVICE

I, Andrew T. Drake, Vice President for Dilks & Knopik, LLC as assignee to Johnson
Bank, claimant, state under penalty of perjury under the laws of the United States that I served a
copy of this notice and the attached motion on each entity below at the address shown by First
Class US Mail on 4/17/2023 at 12:00 p.m.

SERVICE LIST

Via First Class U.S. Mail

US Bankruptcy Court

Mr. Jeffrey P. Allsteadt, Clerk
219 8. Dearborn Street, Room 710
Chicago, Illinois 60604

US Trustee
219 S. Dearborn Street, Rm 873
Chicago, Illinois 60604

US Attorney

219 S. Dearborn Street
Chief, Civil Division
Chicago, Illinois 60604

Trustee

Joseph E Cohen

105 West Madison Suite 1100
Chicago, IL 60602

a
Andrew T. Drake - Vice President
35308 SE Center St
Snoqualmie, WA 98065
425-836-5728

Desc Main

at de 1) nares CoMCeleLsh itm Clow ere toto es

i L&E
_ Debtor 1 Ira Greenberg & Lorraine R, Greenberg aE < ayes | naweatérct puny
First Name Middie Name Last Name DISTRICT OF ILLINOIS
Debtor 2 APR 24 2023
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: _ Northern District of Illinois JEFFREY P ALLSTEADT, CLERK

ff FR, ‘T
ea
Case Number: 17-15030 AKE

Form 1340 (12/49)

APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

1. Claim Information

For the benefit of the Claimant(s)’ named below, application is made for the payment of unclaimed funds on deposit with
the court. | have no knowledge that any other party may be entitled to these funds, and | am not aware of any dispute
regarding these funds.

Note: If there are joint Claimants, complete the fields below for both Claimants.

Amount: $18,807.88

Claimant’s Name: Johnson Bank

Claimant's Current Mailing 35308 SE Center Street

Address, Telephone Number, Snoqualmie, WA 98065

and Email Address: 425-836-5728
admin@dilksknopik.com

2. Applicant information

Applicant? represents that Claimant is entitled to receive the unclaimed funds because (check the statements that
apply):
CJ Applicant is the Claimant and is the Owner of Record? entitled to the unclaimed funds appearing on the records of the
court.

xX Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase, merger, acquisition,
succession or by other means.

J Applicant is Claimant’s representative (e.g., attorney or unclaimed funds locator}.

C] Applicant is a representative of the deceased Claimant's estate.
3. Supporting Documentation

Applicant has read the court's instructions for filing an Application for Unclaimed Funds and is providing the required
supporting documentation with this application.

' The Claimant is the party entitled to the unclaimed funds.
* The Applicant is the party filing the application. The Applicant and Claimant may be the same.
1 The Owner of Record is the original payee.

Case 17-15030 Doc 83 Filed 04/24/23 Entered 04/24/23 14:43:46 Desc Main
Document Page4of4

Form G-3

4. Notice to United States Attorney

Applicant has sent a copy of this application and supporting documentation to the United States Attorney,
pursuant to 28 U.S.C. § 2042, at the following address:

Office of the United States Attorney
Northern District of Illinois
219 S. Dearborn Street
Chief, Civil Division
Chicago, Illinois 60604

5. Applicant Declaration 5. Co-Applicant Declaration (if applicable)
Pursuant to 28 U.S.C. § 1746, | declare under penalty of Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America perjury under the laws of the United States of America
that the foregoing is true and correct. that the foregoing is true and correct.
Date: April 17, 2023 Date:
/ " Signature of Co-Applicant (if applicable)
C1 Signature of Applicant
Andrew T. Drake — Vice President
Dilks & Knopik, LLC Printed Name of Co-Applicant (if applicable)
35308 SE Center Street
Snoqualmie, WA 98065 Address:

428-836-5728 x123
admin@dilksknopik.com

Telephone:
Email:
6. Notarization 6. Notarization
STATE OF WASHINGTON STATE OF
COUNTY OF KING COUNTY OF
This Application for Unclaimed Funds, dated This Application for Unclaimed Funds, dated
April 17, 2023 was subscribed and sworn to before me this_ was subscribed and sworn to before
17th day of_April , 20.23 by me this day of , 20 by

Andrew _T. Drake who signed above and is personally
known to me (or proved to me on the basis of satisfactory
evidence) to be the person whose name is subscribed to who signed above and is personally known to me (or

the within instrument. WITNESS my hand and official s ~proved to me on the basis of satisfactory evidence) to be
ft ee the person whose name is subscribed to the within
(SEAL) Notary Public: — instrument. WITNESS my hand and official seal.

Matthew Zettle

(SEAL) Notary Public.

My commission expires: February 19, 2026
My commission expires:

Form 1340 . Application for Payment of Unclaimed Funds Page 2
